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npHJimKCHHeNs 1                                                                                            Appendix Ks I
KjtoroBopyNs 1001/08-10                                                                   to the Contract Ns 1001/08-10
or "17" aBr7CTa 2010 r.                                                                            from August 17, 2010
yTBepjtyteHo                                                                                                 approved by
flonoJiHiirejibiihtNs coftiauicHHeM Ns 4                                                     Atidilioitidagreement No. 4
                           5 r.                                                             from                   ,2015
OT
KfloroBopyNs 1001/08-10                                                                   to the Contract Ns 1001/08-10
OT "17" aBrycra 2010 r.                                                                            from August 17, 2010

PerpaHcnsuHtt TenenporpaMMi.i ocymecTBnflercs b               TV-programme shall be broadcasted via following
cjieayiomHX CucreMax xeJieBraHOHHoro BemaHHx:                 Television Broadcast Systems:

Cexb Time Warner Cable (New York, New Jersey):                Time Warner Cable (New York, New Jersey):
PeipaHcnauHX ocymecTBJiHerca 24 naca b cyrKH, 7 tiHefl b      24 hours per day, 7 days a week.
Heaenio.                                                      Broadcasting period: from September 15,2010 till August
riepHOfl perpaHCJiHUHH: c "15" ceHTaOps 2010 r. no "31"       31,2017.
aBrycra 2017 r.

Cert Time Warner Cable (Los Angeles, San Diego):              Time Warner Cable (Los Angeles, San Diego):
PerpaHcnjiitHti ocyinecTBnHeTcst 24 naca b cyrKH, 7 nHetl b   24 hours per day, 7 days a week.
neneJiK).                                                     Broadcasting period: from September 4,2013 till August
nepttofl perpancjiBUHH: c "4" ccHTaOpH 2013 r. no "31"        31,2017.
aBrycra 2017 r.

CroHMoerb perpaHcnaitHH:                                      Cost:
3a nepHon c"15" ceHraSpa 2010 r. no "14" ceHrafrpa 2012       For the period from September 15.2010 to September 14,
r. cocraBjiaer 1320000 (o^hh mhjuihoh rpHcra ABajmarb         2012 cost is 1320000 (one million three hundred twenty
Tbicau) AOJinapoB ClIJA 00 uchtob b roji.                     thousand) US dollars 00 cents per year.

3a nepHOfl c'T5" ceHra6p)i 2012 r. no "14" ceHTafrpa 2013     For the period from September 15,2012 to September 14,
r. cocraBnaer 1402112,33 (OflHH mhjuihoh Herbipecra jise      2013 cost is 1402112,33 (one million four hundred two
rbicHHH CTO jiBeHaauaTb) nojuiapoB CUIA 33 uenra.             thousand one hundred twelve) US dollars 33 cents.

 3a nepHOfl c "15" ceHraSpa 2013 r. no "14" hiohh 2015 r. For the period from September 15,2013 to June 14,2015
 cocraBjiacT 1011159,10 (ojihh mhjuihoh OAHHHajmarb cost is 1011159,10 (one million eleven tliousand one
 TbiCHH CTO rwTbflecBT aesHTb) AOJuiapoB CIIIA 10 ueuTOB hundred fifty nine) US dollars 10 cents per quarter.
 B KBapraji.

 3a nepHOA c "15" hkhw 2015 r. no "31" aBiyci-a 2015 r.       For the period from June 15, 2015 to August 31, 2015 cost
 cocraBAflCT 856022,36 (soceMbcor nJiTbACCHT inecrb           is 856022,36 (eight hundred fifty six thousand twenty two)
 TbiCBU ABaAuarb abb) Aonnapa CILIA 36 uchtob.                US dollars 36 cents.

 3a nepHOA c "01" ceHTH6p« 2015 r. no "31" aBiycra 2017       For the period from September 01,2015 to August 31,
 r. cocraBAaer 3908425 (rpH MHAAHOHa AesaTbcoT BoceMb         2015 cost is 3908425 (three million nine hundred eight
 TbicHH HeTbipecra ABaAuarb narb) AonnapoB CllIA b roA.       thousand four hundred twenty five) US dollars per year.

reHepajibHwfi AiijfKrop \ General director                    reHepaiibHbiflyAupcKTOp \ General director
AHO "1'B-Hobo        \ ANO "TV-Novosti"                       RTTV Am            me



                            mIhkojioh \ A.L. Nikolov                                      JlanoBCKHii \ A.G. Yazlovsky

                                                                                     n
                                                                      Pr ColuiA
                                                                      ♦




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